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                   IN THE UNITED STATES DISTRICT C URT
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION                 MAY - 5 2020

                                                         CLE   U.S. DiStiucr COURT
JUSTIN FERGUSON,                     §                    By ____~ik~·~ut~·-------
                                     §
           Plaintiff,                §
                                     §
vs.                                  §   NO. 4:19-CV-856-A
                                     §
FORT WORTH JOE'S PIZZA & PASTA,      §
INC . , ET AL . ,                    §
                                     §
           Defendants.               §

                              FINAL JUDGMENT

      In light of the joint stipulation of dismissal by

plaintiff, Justin Ferguson, and defendants Kay-Wel Enterprises

and Karen V. Bertelli, Trustee of the Bertelli Karen V Trust,

and in accordance with the order signed this same date

dismissing plaintiff's claims against defendant Fort Worth Joe's

Pizza & Pasta, Inc.,

      The court ORDERS, ADJUDGES, and DECREES that the claims and

causes of action brought by plaintiff against defendants in the

above-captioned action be, and are hereby, dismissed with

prejudice, and that each party bear the fees and costs incurred

by such party.

      SIGNED May    s- ,
                   __      2020
